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                                     UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF NORTH CAROLINA

IN RE:
   GAIL SHARP                                                      CASE NO. 20-10245
   773 HUFFINES MILL ROAD                                          JUDGE BENJAMIN A. KAHN
   REIDSVILLE, NC 27320

               DEBTOR

   SSN(1) XXX-XX-9762                                              DATE: 11/05/2020


                                             REPORT OF FILED CLAIMS

     Pursuant to 11 U.S.C. §704(5), the trustee has examined the proofs of claims filed in this case and objected to the
allowance of such claims as appeared to be improper except where no purpose would have been served by such
objection. After such examination and objections, if any, the trustee states that claims should be deemed allowed or “not
filed” as indicated below.

NAME & ADDRESS OF CREDITOR                                      AMOUNT      CLASSIFICATION
ADVANCED HOME CARE                                                $0.00     (U) UNSECURED
P O BOX 580089                                               INT: .00%      NOT FILED
CHARLOTTE, NC 28258-0089                               NAME ID: 155203      ACCT:
                                                         CLAIM #: 0009      COMMENT:
AMERICAN PARTNERS FCU                                          $2,771.80    (X) SPECIAL-UNSECURED
P O BOX 1198                                                 INT: 4.28%
REIDSVILLE, NC 27323                                     NAME ID: 21741     ACCT: 3209
                                                          CLAIM #: 0008     COMMENT: OC
CARELINK MOSES CONE                                               $0.00     (U) UNSECURED
1018 ARNOLD ST                                               INT: .00%      NOT FILED
GREENSBORO, NC 27405                                   NAME ID: 181609      ACCT:
                                                         CLAIM #: 0010      COMMENT:
CAROLINA APOTHECARY                                                $0.00    (U) UNSECURED
P O BOX 29                                                    INT: .00%     NOT FILED
REIDSVILLE, NC 27323                                      NAME ID: 9531     ACCT:
                                                          CLAIM #: 0011     COMMENT:
CAROLINA NEUROSURGERY & SPINE                                      $0.00    (U) UNSECURED
225 BALDWIN AVE                                               INT: .00%     NOT FILED
CHARLOTTE, NC 28204                                      NAME ID: 48273     ACCT:
                                                          CLAIM #: 0012     COMMENT:
CENTRAL CAROLINA SURGERY CENTER                                   $0.00     (U) UNSECURED
1002 N CHURCH ST #302                                        INT: .00%      NOT FILED
GREENSBORO, NC 27401                                   NAME ID: 158729      ACCT:
                                                         CLAIM #: 0013      COMMENT:
CONE HEALTH                                                       $0.00     (U) UNSECURED
1200 N ELM ST                                                INT: .00%      NOT FILED
GREENSBORO, NC 27401                                   NAME ID: 137686      ACCT:
                                                         CLAIM #: 0014      COMMENT:
CREDIT ONE BANK                                                    $0.00    (U) UNSECURED
P O BOX 98873                                                 INT: .00%     NOT FILED
LAS VEGAS, NV 89193                                      NAME ID: 44483     ACCT:
                                                          CLAIM #: 0015     COMMENT:
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NAME & ADDRESS OF CREDITOR                         AMOUNT      CLASSIFICATION
DIRECTV LLC                                          $557.09   (U) UNSECURED
BY AMERICAN INFOSOURCE AS AGENT                   INT: .00%
P O BOX 5072                                NAME ID: 179272    ACCT: 8629
CAROL STREAM, IL 60197-5072                   CLAIM #: 0016    COMMENT: 320A
DR EDWARD B GERHARDT                                   $0.00   (U) UNSECURED
301 WENDOVER AVE E #411                           INT: .00%    NOT FILED
GREENSBORO, NC 27401                        NAME ID: 181610    ACCT:
                                              CLAIM #: 0017    COMMENT:
EMERGE ORTHO PA                                        $0.00   (U) UNSECURED
P O BOX 14000                                     INT: .00%    NOT FILED
BELFAST, ME 04915                           NAME ID: 179519    ACCT: A847
                                              CLAIM #: 0018    COMMENT:
GREENSBORO ANESTHESIA                                  $0.00   (U) UNSECURED
3625 N ELM ST                                     INT: .00%    NOT FILED
GREENSBORO, NC 27455                        NAME ID: 126301    ACCT:
                                              CLAIM #: 0019    COMMENT:
GREENSBORO ORTHOPAEDICS                                $0.00   (U) UNSECURED
3200 NORTHLINE AVE                                INT: .00%    NOT FILED
GREENSBORO, NC 27408                        NAME ID: 121446    ACCT:
                                              CLAIM #: 0020    COMMENT:
GREENSBORO RADIOLOGY                                   $0.00   (U) UNSECURED
1331 N ELM ST STE 200                             INT: .00%    NOT FILED
GREENSBORO, NC 27401                        NAME ID: 149128    ACCT:
                                              CLAIM #: 0021    COMMENT:
HUGHES NETWORK SYSTEMS                                 $0.00   (U) UNSECURED
11717 EXPLORATION LN                              INT: .00%    NOT FILED
GERMANTON, MD 20876                          NAME ID: 68048    ACCT: 9639
                                              CLAIM #: 0022    COMMENT:
INTERNAL REVENUE SERVICE                               $0.00   (P) PRIORITY
P O BOX 7346                                      INT: .00%    NOT FILED
PHILADELPHIA, PA 19101-7346                 NAME ID: 123770    ACCT: 9762
                                              CLAIM #: 0001    COMMENT:
KROGER CHECK RECOVERY CENTER                           $0.00   (U) UNSECURED
P O BOX 1259                                      INT: .00%    NOT FILED
OAKS, PA 19456                              NAME ID: 181611    ACCT:
                                              CLAIM #: 0023    COMMENT:
LEBAUER HEART CARE                                     $0.00   (U) UNSECURED
618 S MAIN ST                                     INT: .00%    NOT FILED
REIDSVILLE, NC 27320-5020                   NAME ID: 149805    ACCT:
                                              CLAIM #: 0024    COMMENT:
LENDMARK FINANCIAL SERVICES LLC                    $6,525.51   (U) UNSECURED
2118 USHER ST NW                                  INT: .00%
COVINGTON, GA 30014                         NAME ID: 166347    ACCT: 0525
                                              CLAIM #: 0025    COMMENT:
MARINER FINANCE NORTH CAROLINA INC                 $2,128.70   (V) VEHICLE-SECURED
8211 TOWN CENTER DR                              INT: 6.75%
NOTTINGHAM, MD 21236                        NAME ID: 150555    ACCT: 3002
                                              CLAIM #: 0007    COMMENT: 06CHEV
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NAME & ADDRESS OF CREDITOR                             AMOUNT      CLASSIFICATION
MEADE & ASSOCIATES                                      $31.12     (U) UNSECURED
737 ENTERPRISE DR                                   INT: .00%
LEWIS CENTER, OH 43035                        NAME ID: 165329      ACCT: 8393
                                                CLAIM #: 0035      COMMENT: HARRIS TEETER
MIDLAND CREDIT MANAGEMENT INC                        $1,469.15     (U) UNSECURED
P O BOX 2037                                        INT: .00%
WARREN, MI 48090                              NAME ID: 177774      ACCT: 5404
                                                CLAIM #: 0033      COMMENT:
N C DEPARTMENT OF REVENUE                                  $0.00   (P) PRIORITY
BANKRUPTCY UNIT                                       INT: .00%    NOT FILED
P O BOX 1168                                      NAME ID: 9699    ACCT: 9762
RALEIGH, NC 27602-1168                            CLAIM #: 0002    COMMENT:
PIEDMONT TRIAD ANESTHESIA PA                             $0.00     (U) UNSECURED
145 KIMEL PARK DR STE 120                           INT: .00%      NOT FILED
WINSTON SALEM, NC 27103-6983                  NAME ID: 115067      ACCT:
                                                CLAIM #: 0027      COMMENT:
PRA RECEIVABLES MANAGEMENT LLC                       $6,114.72     (U) UNSECURED
% PORTFOLIO RECOVERY ASSOC LLC                      INT: .00%
P O BOX 12914                                 NAME ID: 118583      ACCT: 1080
NORFOLK, VA 23541                               CLAIM #: 0026      COMMENT: 820TFCL
QUICKEN LOANS INC                        MONTHLY PMT $538.93       (H) ONGOING-SECURED
BANKRUPTCY TEAM                                    INT: .00%
635 WOODARD AVE                              NAME ID: 181865       ACCT: 4759
DETROIT, MI 48226                              CLAIM #: 0004       COMMENT: DT RERP,CTD EFF AUG20
QUICKEN LOANS INC                                    $1,524.80     (H3) PRE-PETITION ARREARAGE-SECURED
BANKRUPTCY TEAM                                     INT: .00%
635 WOODARD AVE                               NAME ID: 181865      ACCT: 4759
DETROIT, MI 48226                               CLAIM #: 0005      COMMENT: ARR THRU MAR20
QUICKEN LOANS INC                                    $2,155.72     (H1) POST-PETITION ARREARAGE-SECURED
BANKRUPTCY TEAM                                     INT: .00%
635 WOODARD AVE                               NAME ID: 181865      ACCT: 4759
DETROIT, MI 48226                               CLAIM #: 0006      COMMENT: ARR APR THRU JUL20
QUICKEN LOANS INC                                      $450.00     (H2) POST-PETITION FEES-SECURED
BANKRUPTCY TEAM                                     INT: .00%
635 WOODARD AVE                               NAME ID: 181865      ACCT: 4759
DETROIT, MI 48226                               CLAIM #: 0034      COMMENT: POST PET FEES
ROCKINGHAM CO REGISTER OF DEEDS                         $52.00     (Z) SPECIAL COST ITEM
170 NC 65 SUITE 150                                 INT: .00%
REIDSVILLE, NC 27320                          NAME ID: 174473      ACCT:
                                                CLAIM #: 0037      COMMENT:
ROCKINGHAM COUNTY                                        $0.00     (U) UNSECURED
DEPARTMENT OF EMERGENCY SERVICES                    INT: .00%      NOT FILED
% EMS MANAGEMENT & CONSULTANTS                NAME ID: 162570      ACCT:
P O BOX 863                                     CLAIM #: 0028      COMMENT:
LEWISVILLE, NC 27023
ROCKINGHAM COUNTY EMS                                    $0.00     (U) UNSECURED
P O BOX 863                                         INT: .00%      NOT FILED
LEWISVILLE, NC 27023                           NAME ID: 60425      ACCT:
                                                CLAIM #: 0029      COMMENT:
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NAME & ADDRESS OF CREDITOR                          AMOUNT       CLASSIFICATION
ROCKINGHAM COUNTY TAX                                    $0.00   (P) PRIORITY
P O BOX 68                                          INT: .00%    NOT FILED
WENTWORTH, NC 27375-0068                        NAME ID: 877     ACCT:
                                                CLAIM #: 0003    COMMENT:
SEVENTH AVENUE                                       $383.06     (U) UNSECURED
% CREDITORS BANKRUPTCY SERVICE                    INT: .00%
P O BOX 800849                              NAME ID: 150901      ACCT: 0570
DALLAS, TX 75380                              CLAIM #: 0030      COMMENT:
SME INC USA                                            $0.00     (U) UNSECURED
P O BOX 15209                                     INT: .00%      NOT FILED
WILMINGTON, NC 28408                         NAME ID: 46713      ACCT:
                                              CLAIM #: 0031      COMMENT:
SYNCHRONY BANK                                     $1,529.95     (U) UNSECURED
% PRA RECEIVABLES MANAGEMENT LLC                  INT: .00%
P O BOX 41031                               NAME ID: 161980      ACCT: 4335
NORFOLK, VA 23541                             CLAIM #: 0032      COMMENT:
VERIZON                                              $544.63     (U) UNSECURED
BY AMERICAN INFOSOURCE                            INT: .00%
P O BOX 4457                                NAME ID: 176218      ACCT: 0001
HOUSTON, TX 77210-4457                        CLAIM #: 0036      COMMENT:

TOTAL:                                              $26,777.18
BRANDI L RICHARDSON ESQ                              $3,500.00   ATTORNEY FEE
LAW OFFICE OF CATHY R STROUPE PA
P O BOX 840
REIDSVILLE, NC 27323



                                                                 ANITA JO KINLAW TROXLER,
                                                                 TRUSTEE
                                                                 500 W FRIENDLY AVE STE 200
                                                                 P O BOX 1720
                                                                 GREENSBORO, NC 27402-1720
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                                NOTICE OF FILING OF REPORT OF FILED CLAIMS

    The foregoing Report of Filed Claims has been filed with the Bankruptcy Court based on an audit of claims filed in
the Trustee’s office. The claims are allowed unless objection is made by the Debtor or other party in interest.

    Any objection to a claim should be filed in writing with the Bankruptcy Court at the address below and a copy must
be served on the Trustee:

                                      Clerk, U.S. Bankruptcy Court
                                      101 S. Edgeworth Street
                                      P.O. Box 26100
                                      Greensboro, NC 27420-6100

    If an objection is filed, a hearing will be scheduled before the Court.       The Trustee will continue making
disbursements on the claims unless an objection is filed.




Date: 11/05/2020                                                      OFFICE OF THE CHAPTER 13 TRUSTEE

                                                                 By: /s/ Gayle McFarland
                                                                     Clerk
                                                                     Chapter 13 Office
                                                                     500 W FRIENDLY AVE STE 200
                                                                     P O BOX 1720
                                                                     GREENSBORO, NC 27402-1720

cc: Debtor
    Attorney for Debtor - Electronic Notice
